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5    Attorney for Defendant
     RAY ANTHONY BOBO
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7
8                        IN THE UNITED STATES DISTRICT COURT
9                      FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. Cr. F 03-5054 OWW
                                     )
12                  Plaintiff,       )      ORDER REDUCING SENTENCE PURSUANT
                                     )      TO 18 U.S.C. § 3582(c)(2)
13        v.                         )
                                     )      RETROACTIVE CRACK COCAINE
14   RAY ANTHONY BOBO,               )      REDUCTION CASE
                                     )
15                  Defendant.       )
                                     )
16   _______________________________ )
17        This matter came before the Court on the stipulated motion of the
18   defendant for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2)
19   filed on April 16, 2008.
20        On November 3, 2003, this Court sentenced Mr. Bobo to a term of
21   imprisonment of 70 months.     The parties agree, and the Court finds,
22   that Mr. Bobo is entitled to the benefit of the retroactive amendment
23   reducing crack cocaine penalties, which reduces the applicable offense
24   level from 25 to 23.
25        IT IS HEREBY ORDERED that the term of imprisonment originally
26   imposed is reduced to 60 months;
27        IT IS FURTHER ORDERED that all other terms and provisions of the
28   original judgment remain in effect.
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1         Unless otherwise ordered, Mr. Bobo shall report to the United
2    States Probation office closest to the release destination within
3    seventy-two hours after his release.
4    IT IS SO ORDERED.
5    Dated: April 17, 2008                 /s/ Oliver W. Wanger
     emm0d6                           UNITED STATES DISTRICT JUDGE
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     ORDER REDUCING SENTENCE
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